                                   CASE 0:12-cr-00295-PAM-AJB Doc. 73 Filed 07/16/13 Page 1 of 1


                                      IN THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF MINNESOTA

                                                              SENTENCING
UNITED STATES OF AMERICA,                                        )                  COURT MINUTES - CRIMINAL
                     Plaintiff,                                  )
                                                                 )     Case No:             Criminal 12-295(1) PAM
                              v.                                 )     Date:                July 16, 2013
                                                                 )     Court Reporter:      Ron Moen
Eric Wade Forcier,                                               )     Courthouse:          St. Paul
                                              Defendant.         )     Courtroom:           7D
                                                                 )     Time Commenced: 10:00 am
                                                                 )     Time Concluded:      10:30 am
                                                                       Sealed Hearing Time:
                                                                       Time in Court:       Hours & 30 Minutes

Before Paul A. Magnuson, United States District Judge, at St. Paul, Minnesota.

APPEARANCES:

      For Plaintiff:                   Allen Slaughter
      For Defendant:                   Kyle D. White       9 FPD : CJA 9 Retained 9 Appointed

      : Sentencing.

IT IS ORDERED:

Defendant is sentenced to: Custody of the Bureau of Prisons for 240 months. 156 months as to each Count
1s,2s, & 4s to run concurrent to each other. 84 months as to Ct. 3s to run consecutive to term imposed on Cts.
1s, 2s, & 4s. Supervised release term of 5 years. 3 years as to Cts. 1s, 2s, & 4s and 5 years as to Ct. 3s to run
concurrent.

      : Special conditions of :
                                                         See J&C for special conditions

      : Defendant sentenced to pay:
         : Restitution in the amount of $4,288.00.
         : Special assessment in the amount of $400.00 to be paid .

      : Plea and plea agreement accepted.
      9 Execution of sentence of imprisonment suspended until.
      9 Execution of sentence of fine suspended.
      : On Motion of the Gov't., the indictment is dismissed as to this defendant only.
      9 Motion for departure is 9 granted     9 denied.
      : Defendant remanded to the custody of the U.S. Marshal.
                                                                                                           s/Suzanne M. Ruiz
                                                                                                                 Calendar Clerk

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